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   IT IS ORDERED as set forth below:



   Date: October 18, 2021
                                                        _________________________________

                                                                    Sage M. Sigler
                                                             U.S. Bankruptcy Court Judge

 ________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                          :          CASE NO. 17-64941-SMS
                                                :
ROGER CARROLL BURGESS,                          :          CHAPTER 7
                                                :
         Debtor.                                :
                                                :

                    ORDER APPROVING SETTLEMENT
     OF PRODUCT LIABILITY CLAIM AND GRANTING AUTHORITY TO MAKE
             CERTAIN PAYMENTS IN ACCORDANCE WITH SAME

         On September 17, 2021, S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Roger Carroll Burgess (“Debtor”), filed his

Motion for Approval of Settlement of Product Liability Claim under Rule 9019 of the Federal Rules

of Bankruptcy Procedure and Request to Make Certain Payments in Accordance with Same [Doc.

No. 72] (the “Settlement Motion”).




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        In the Settlement Motion, Trustee seeks approval of a settlement (the “Settlement”) of a

certain product liability litigation claim of the Estate with a payment of $115,530.95, gross, which

after payment of various liens, expenses (including special counsel’s attorney’s fees and expenses,

if so awarded), and Debtor’s claimed Exemption1 will result in a net of approximately $27,000.00

coming into the Estate.

        On September 20, 2021, Trustee filed Notice of Pleadings, Deadlines to Object, and for

Hearings [Doc. No. 74] (the “Notice”) regarding, among other things, the Settlement Motion, in

accordance with General Order No. 24-2018 and setting a hearing on the Settlement Motion on

October 20, 2021 (the “Hearing”). Counsel for Trustee certifies that he served the Notice on all

requisite parties in interest on September 20, 2021. [Doc. No. 75].

        The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Settlement Motion was filed prior

to the objection deadline provided in the Notice. No creditor or party in interest appeared at the

Hearing to voice an objection to the relief requested in the Settlement Motion.

        The Court having considered the Settlement Motion and all other matters of record,

including the lack of objection to the relief requested in the Settlement Motion, and, based on the

forgoing, finding that no further notice or hearing is necessary; and, the Court having found that

good cause exists to grant the relief requested in the Settlement Motion, it is hereby

        ORDERED that the Settlement Motion is GRANTED: the Settlement stands

APPROVED, and the terms set forth in the Settlement Motion are incorporated herein by

reference. It is further


        1
               Capitalized terms not defined in this Order shall have the meanings ascribed to
them in the Settlement Motion.


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        ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement and the Settlement Motion, including, without limitation, making, or causing to be

made, those requested payments set forth in the Settlement Motion. It is further

        ORDERED that Trustee is authorized to pay Debtor his allowed Exemption. It is further

        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce this

Order, (ii) resolve any disputes regarding or concerning the Settlement, and (iii) enter such other

and further orders as may be necessary, just, or proper as an aid to enforcement or implementation

of this Order.

                                      [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of entities to be served:

Office of the United States Trustee
362 United States Courthouse                         Wendy C. Elsey
75 Ted Turner Drive, S.W.                            Matthews & Associates
Atlanta, GA 30303                                    2905 Sackett Street
                                                     Houston, TX 77098
S. Gregory Hays
Hays Financial Consulting, LLC                       Peter de law Cerda
2964 Peachtree Rd, NW, Suite 555                     Freese & Goss
Atlanta, GA 30305                                    3031 Allen Street, Suite 200
                                                     Dallas, TX 75204
Roger Carroll Burgess
2612 Leland Drive
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